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VA i Oe ae ell a

VER VER ENTERTAINMENT LLC
2000 PGA Blvd

Palm Beach Gardens, FL 33408
info@expimled.tv

+1 386 344 8426

RECEIPT ACKNOWLEDGEMENT

Sean Kingston
4610 SW 178 Ave.
Fort Lauderdale, FL 3331

The client Sean Kingston, have received the following product from EXPIMLED FL.

Product Details

* 1-Microled Screen C 232” KONG,

° 1-PC AV Receiver Marantz SR 8015 11.2

° 5-Klipsch Speakers Sound System Dolby Atmos 5.1
° 2-Novastar VX600 ~ Colossal TV Box Sending

° 1-AV Furniture

| affirm that the product has been delivered in perfect condition, without any apparent
damage, and has been tested and verified, confirming its proper functioning.

t declare, under my responsibility, that | have no claims, complaints, or dissatisfaction
regarding the condition, installation gf operation of the received product.

Customer's Signature:

Date: 12 /17/ 2023 7
By signing this document, | acknowledge that | have received the product in the

mentioned condition and have no observations or claims to make.
| appreciate the attention and service provided by Expimled FL

AQ386-C
GOVERNMENT
EXHIBIT

CASE 24-60126-CR-DSL
NO.

EXHIBIT
NO. 7

